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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


 JOHN DOE,                                              Case No. 1:19-cv-00136-TSB

 Plaintiff,                                              Judge: BLACK

 v.                                                      REPLY TO RESPONSE TO
                                                         RENEWED MOTION FOR
 DIRECTOR, MIAMI UNIVERSITY                              PRELIMINARY INJUNCTION
 OFFICE OF COMMUNITY
 STANDARDS, ET AL,

 Defendants




         Pursuant to Federal R. Civil Rule 65, Plaintiff John Doe respectfully submits this Reply to the

Response to the Renewed Motion for Preliminary Injunction. Plaintiff seeks a preliminary injunction

prohibiting Defendants, who are employees of Miami University, from proceeding with a disciplinary

hearing in violation of his constitutional due process rights.

                                       REPLY MEMORANDUM

         A preliminary injunction is necessary to preserve the status quo by allowing John Doe to

exercise his constitutional right to remain silent during a criminal investigation without the pressure

of having to represent himself in a school disciplinary hearing.

A.       The Limited Relief Sought

         Defendants, at a number of occasions, suggest that the injunctive relief sought could last as

long as the statute of limitations for sexual assault under Ohio law – 25 years. See e.g. Def. Memo. at

3 (disciplinary proceeding “cannot be expected to be put on hold for potentially a quarter of a

century”); Def. Memo. at 17 (disciplinary hearing could not continue “until the accused student was

acquitted, convicted, or the statute of limitations had expired”). This is not that case. John Doe is not

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requesting an open-ended injunction and the Court should decline to deny limited relief based on

hypotheticals.

        Defendants further suggest that an injunction in this case would have broad implications, even

to the point of prohibiting “any” disciplinary proceedings “where there is a potential for criminal

charges.” Def. Memo. at 17. This is, Plaintiff concedes, a legitimate concern. But that concern has

been addressed by the Supreme Court. The Court, in other cases dealing with Fifth Amendment

claims, has already established a limiting principle:

        The central standard for the… application [of the fifth amendment privilege against
        self-incrimination is] whether the claimant is confronted by substantial and ‘real’, and
        not merely trifling or imaginary, hazards of incrimination.

Marchetti v. United States, 390 U.S. 39, 53 (1968). The privilege, thus, applies only in “instances where

the witness has reasonable cause to apprehend danger” of criminal liability. Hoffman v. United States,

341 U.S. 479, 486 (1951). Cf. United States v. Reis, 765 F.2d 1094, 1096 (11th Cir.1985) (per curiam)

(claimant of Fifth Amendment privilege “must provide more than mere speculative, generalized

allegations of possible… prosecution”). The Sixth Circuit has observed that the Court has provided

“a workable mode in which to discern” whether the privilege is applicable. United States v. Alkhafaji,

754 F.2d 641, 658 (6th Cir. 1985), citing United States v. Apfelbaum, 445 U.S. 115, 128 (1980).

        Under this standard, an accused student could not assert a similar claim based on a speculative,

generalized concern about a sexual assault prosecution; instead, the student must face a substantial

and real hazard of self-incrimination. In other words, a student must show he has a reasonable

apprehension of criminal prosecution. This rules out the overwhelming majority of school disciplinary

cases. Moreover, Plaintiff meets this standard. As set forth in the supporting Affidavit of Scott

Kruger, John Doe is the subject of an active investigation and is awaiting the results of lab results so

the prosecution can make a decision. (Kruger Aff. ¶¶5-6 (PageID#78).)




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B.      Plaintiff’s Claims Are Ripe

        Defendants argue that “there is no cognizable due process claim here” because Plaintiff failed

to exhaust an available administrative. This ripeness argument fails because the Supreme Court has

held that exhaustion of state remedies is not required before a plaintiff can bring suit under §1983 for

denial of due process. Patsy v. Bd. of Regents of State of Fla., 457 U.S. 496, 516, (1982); Wright v. Roanoke

Redevelopment and Housing Authority, 479 U.S. 418, (1987). The Patsy decision was based upon a

recognition that Congress, in enacting §1983, had “assigned to the federal courts a paramount role in

protecting constitutional rights.” 457 U.S. at 503.1

        In other cases, brought under motion to dismiss standards, federal courts have relied on Patsy

to hold that complaints brought by students alleging due process violations in a hearing process should



1
  By way of illustration, a property owner was not required to go through the appeal process in order
to state a cognizable procedural due process claim. Bowlby v. City of Aberdeen, 681 F.3d 215, 220-223
(5th Cir. 2012) citing, inter alia, Carey v. Piphus, 435 U.S. 247, 266 (1978) (“Even if respondents'
suspensions were justified, and even if they did not suffer any other actual injury, the fact remains that
they were deprived of their right to procedural due process.”).
Defendants’ reliance on Doe v. Univ. of Kentucky, 860 F.3d 365 (6th Cir. 2017), is misplaced. In Univ. of
Kentucky, the Sixth Circuit applied Younger abstention principles, reasoning that a school disciplinary
proceeding “contains enough protections and similarities to qualify as ‘akin to criminal prosecutions.’”
860 F. 3d at 370. In this case, Defendants explicitly state that the school disciplinary proceeding is
distinct from a criminal proceeding. Def. Memo. at 5. Univ. of Kentucky is also distinguishable on the
grounds that the student was able to previously raise his constitutional claims in the university
proceeding. Ohio law is different. Ohio generally does not permit parties to raise constitutional claims
in state administrative proceedings. See Fairview General Hosp. v. Fletcher, 63 Ohio St. 3d 146, 149 (1992);
Buckeye Quality Care Centers, Inc., 48 Ohio App.3d 150, 154 (1988).
If this Court follows the analysis in Univ. of Kentucky and applies the Younger, analysis, this Court must
then consider an exception to the Younger doctrine. Younger abstention does not apply is there is “an
extraordinarily pressing need for immediate federal equitable relief.” Kugler v. Helfant, 421 U.S. 117,
125 (1975). In this case, as discussed in Plaintiff’s Memo. and infra., Plaintiff will suffer irreparable
harm if the Court abstained from exercising its jurisdiction. See Lighthouse Community Church of God v.
City of Southfield, 382 F.Supp.2d 937, 941 (E.D.Mich.2005) (“To examine this exception, the [c]ourt
looks to the irreparable harm that [a plaintiff] might suffer if the [c]ourt abstained from exercising its
jurisdiction.”); Russell v. Giles Cty., 105 F.Supp.2d 841, 846 (M.D.Tenn.2000) (“In a situation where the
plaintiff will suffer irreparable harm if the federal court does not grant equitable relief, a federal court
may enjoin a state criminal proceeding begun prior to federal proceeding.”).

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be permitted to continue even though further proceeding at the school were available. Yoder v. Univ.

of Louisville, 2009 U.S. Dist. LEXIS 67241, 13-14 (W.D. Ky. Aug. 3, 2009), rev’d on other grounds 417 Fed.

Appx. 529 (2011); Pomeroy v. Ashburnham Westminster Reg'l Sch. Dist., 410 F. Supp. 2d 7, 16 (D. Mass.

2006). In Yoder, a nursing student was dismissed as a student from the University of Louisville School

of Nursing. The court held that a student was not required to pursue remedies within the University

systems in order to maintain a §1983 claim. The court said, “the law is clear that exhaustion is not a

prerequisite to maintenance of an action under §1983.” 2009 U.S. Dist. LEXIS 67241 at 13-14, citing

Patsy, 457 U.S. at 500-501. In Pomeroy, a student brought a claim under §1983 that he was denied due

process in a school disciplinary hearing. The school district argued that the claim should be dismissed

because state law and local regulations provide for an appeal of the suspension to the superintendent

and subsequent judicial review of that appeal. The court concluded that the §1983 claim survived

even though the student did not pursue these available appeals. 410 F. Supp. 2d at 17 n. 6 (a “plaintiff

is not normally required to exhaust state remedies before commencing a § 1983 action) (citations

omitted). See also Nasierowski Bros. Invest. Co. v. Sterling Hts., 949 F.2d 890, 894 (6th Cir. 1991) (a

procedural due process claim is “instantly cognizable in federal court without requiring a final

decision”).

        Recently, a court in this Circuit issued an injunction against a university disciplinary proceeding

prior to the hearing. Doe v. Univ. of Michigan, 325 F. Supp. 3d 821, 826 (E.D. Mich. 2018). In that case,

a district court granted a preliminary injunction prohibiting a public university from continuing with

an unconstitutional disciplinary process. In doing so, the court explicitly rejected an almost identical

ripeness argument. The court said,

        if the Court denies this Motion, but ultimately finds that the Policy violates due
        process, Plaintiff will have been forced to defend himself against serious sexual assault
        allegations without adequate constitutional safeguards. Defendants essentially ask the
        Court to sit back and wait… But, at this very moment, the University may be denying
        Plaintiff due process protections to which he is entitled. The Court cannot, and will

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        not, simply stand by as the fruit continues to rot on the tree. This case is ripe for
        adjudication.

325 F. Supp. 3d at 826.

C.      Plaintiff Has A Substantial Likelihood of Success.

        Defendants acknowledge that Plaintiff is entitled to due process in the disciplinary proceedings

held at Miami University and that the Mathews v. Eldridge, 424 U.S. 319 (1976), balancing test applies.

        1.      Miami Does Not Have A Policy That An Adverse Inference Will Not Be Drawn
                From Silence.

        Defendants make one significant mistake about the record. Defendants claim that Miami

University will not draw an adverse inference from Plaintiff’s silence.2 However, no Miami policy

contains such a provision. (See Complaint ¶¶ 40-41 (PageID#12).) Notably, the Complaint indicates

that Miami University did not respond to a request from Plaintiff to an administrator that the hearing

panel “be instructed that they cannot draw any inferences from my silence.”3 (Complaint ¶50(b)

(PageID#15).) The absence of such a policy is highlighted here because it will be significant in

distinguishing the cases cited by Defendants. See infra.

        2.      The Due Process Violation

        Defendants are correct that Plaintiff has not cited any “authority directly on point.” Def.

Memo. at 11. This is because the issue presented by this Motion is an issue of first impression in this

Circuit. Importantly, though, the Court does not address this issue in a vacuum. Plaintiff cites a

number of cases on pages 9-10 of his Memorandum where courts have granted injunctive relief to

students accused of sexual misconduct. These cases are notable because, prior to these cases, very


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  Defendants refer to an email from the investigator. The investigator told Plaintiff, “I do not hold
your silence against you…” (Doe. Aff ¶6 (PageID#74).) However, the record reflects that
investigator then proceeded to comment on Plaintiff’s silence and noted that the statements of the
complainant were “unopposed.” (Doe. Aff ¶7 (PageID#74).)
3
  Compare Hart v. Ferris State College, 557 F.Supp. 1379, 1385 (W.D.Mich.1983) (school submitted
affidavit of hearing officer stating that silence would “not work against” the accused student).

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few decisions favored accused students. These cases, thus, are indicative of the heightened scrutiny

applied by federal courts of restrictive procedures adopted by schools following the 2011 Dear

Colleague letter. Doe v. Marymount Univ., 297 F. Supp. 3d 573, 582-583 (E.D.Va.2018) (“Some

commentators, including some federal courts, have observed that this spate of cases can be traced to

the now-rescinded April 4, 2011 Dear Colleague Letter…”); Doe v. Ohio State Univ., 239 F. Supp. 3d

1048, 1072 (S.D. Ohio 2017) (“There is little doubt that universities around the country have felt

pressure to tighten the investigation and punishments in sexual misconduct cases because this is a very

sensitive issue.”). Plaintiff respectfully suggests that the message of the Sixth Circuit underlying the

recent decisions in Doe v. Univ. of Cincinnati, 872 F.3d 393 (6th Cir. 2017), and Doe v. Baum, 903 F.3d

575 (6th Cir. 2018), is that courts should view the actions of schools more critically than in the past.

The pre-2011 cases relied upon by Defendants are inapposite because they were decided in an era

when courts were much more deferential to school administrators. See Def. Memo. at 6-9, citing

Gabrilowitz v. Newman, 582 F.2d 100, 103 (1st Cir. 1978); Wimmer v. Lehman, 705 F.2d 1402 (4th Cir.

1983); Crowley v. U.S. Merch. Marine Acad., 985 F. Supp 292 (E.D.N.Y. 1997).4

       No court has addressed this issue since the issuance of the Dear Colleague letter. The most

recent decision to address this issue, to the knowledge of the parties, was also decided prior to the

issuance of the Dear Colleague Letter. Coulter v. E. Stroudsburg Univ., M.D.Pa. No. 3:10-CV-0877, 2010

U.S. Dist. LEXIS 43866 (May 5, 2010). The Coulter case, perhaps anticipating the change in judicial

approach to student discipline cases (unlike the 20th Century cases relied upon by Defendants), found

in favor of the student. The problem identified in Coulter is exactly the same as this case. In Coulter,


4
  Wimmer and Crowley are additionally distinguishable because in those cases, unlike in the case, the
institutions had a specific policy of not drawing adverse inferences against a student’s silence. In
Wimmer, unlike in this case, the rules seemed to specifically provide that “no inferences were to be
drawn against [the student] from silence.” 705 F.2d at 1407. In Crowley, unlike in this case, the
Academy had “a well-established policy not to… infer from [a student’s] silence that the charges are
admitted.” 985 F.Supp. at 295.

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as in this case, the student faced simultaneous criminal and school disciplinary investigations. And in

Coulter, as in this case, the student was prohibited to be represented by counsel during the disciplinary

hearing. The court tied the Fifth Amendment problem to this lack of representation:

        By denying Plaintiff any type of active representation in this situation, the University
        was essentially forcing Plaintiff to choose between exposing herself to criminal liability
        and the serious consequences associated therewith or protecting herself from possible
        academic sanctions. In most circumstances, students put in that situation will be driven
        to make the same decision. This means that the students will not be able to defend
        themselves properly, present evidence, or cross-examine the witness, leading to a one-
        sided hearing that might very likely result in an erroneous suspension or expulsion.

2010 U.S. Dist. LEXIS 43866, at *8-9. The only difference between Coulter and this case is the remedy

sought. The Coulter court required the school to permit active representation by counsel; in this case

Plaintiff seeks an injunction against holding the hearing.

        Plaintiff acknowledges that if Miami University permitted active representation by counsel at

disciplinary hearings, like required by the court in Coulter, then the Court should deny this Motion.

But Miami University does not allow active representation by counsel. This fact distinguishes this

situation from the general rule, correctly cited by Defendants, that civil or administrative matters are

not required to be stayed pending the resolution of criminal matters.5 See Def Memo. at 9-10

(collecting cases). In the cases cited by Defendants on pages 10-11 of Defendant’s Memorandum,

there is no indication that the person facing simultaneous civil and criminal investigations was, as in

this case, prohibited from being actively represented by counsel.6 As a result, the person facing



5
  This Court has observed, relevantly, “simultaneous criminal and civil cases involving the same or
closely related facts may give rise to Fifth Amendment concerns sufficient to warrant a stay of the
civil proceedings.” Baird v. Daniels, S.D.Ohio No. 1:12-cv-945, 2013 U.S. Dist. LEXIS 16576, at *3
(Feb. 7, 2013), citing Claborn v. State of Ohio, S.D. Ohio No. 2:11cv679, 2011 U.S. Dist. LEXIS 137629
(Nov. 30, 2011).
6
  See e.g. United States v. Kordel, 397 U.S. 1, 9-10 (1970) )”The respondents do not suggest that [the
witness] who answered the interrogatories… did so while unrepresented by counsel”); Peiffer v. Lebanon
School Dist., 848 F.2d 44, 45 (3d Cir. 1988) (attorney representing accused at disciplinary hearing “could
cross-examine witnesses against his client and present witnesses himself”);

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simultaneous civil and criminal investigations in those cases could do what Plaintiff in this case, as

observed by the Coulter court, cannot: make opening and closing statements, present evidence, and

cross examine witnesses without risking self-incrimination. The undisputed facts in this record

support this conclusion. An attorney who regularly advises students in Miami University disciplinary

proceedings states:

        [I]t is essentially impossible for an accused student to present a defense without
        speaking about the incident, asking questions of the witnesses (questions which
        themselves will necessarily contain factual assertions by the accused), and presenting
        exhibits (which, again, may be viewed as assertions by the accused).

(Lazares Aff. ¶10 (PageID#77).) This evidence is undisputed.

        Defendants suggest that courts “have consistently rejected students’ reliance” on Garrity v. New

Jersey, 385 U.S. 493 (1967), and Lefkowitz v. Cunningham, 431 U.S. 801 (1977). This appears to be an

over-statement; Defendants in this section of Defendant’s Memorandum do not draw this Court’s

attention to any additional authorities beyond Gabrilowitz and Wimmer.

        Defendants next suggest that the “directly imposed penalty” presented in Garrity is a key

distinction from the failure to testify in this case. Defendants argue, in this respect, that there is no

“direct” penalty in this case because “Plaintiff is not required to make a statement or face expulsion.”

Def. Memo. at 13. This difference is (i) overly formalistic; and (ii) contrary to the undisputed facts in

the record. See Lazares Aff. ¶7 (PageID#76) (“if a student does not attend a Title IX Hearing, or offer

any statement in the student’s own defense at a Title IX Hearing, the accused student is all but certain

to be found responsible for the allegations”).) This difference is also inconsistent with the Supreme

Court’s “penalty cases.” The core holding in these cases is that the government may not impose a

penalty on a person for asserting his or her Fifth Amendment privilege. In Lefkowitz v. Cunningham,

431 U.S. 801, 806 (1977), the Court seems to have rejected the “direct deprivation” argument,

suggesting, “direct economic sanctions… are not the only penalties capable of forcing the self-

incrimination.” The penalty in the Supreme Court cases could be direct or indirect, including not
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only the loss of jobs, but also state contracts, future contracting privileges with the state, political

office, and the right to run for office. In each instance the accused party faced inevitable consequences

as a result of the exercise of his or her Fifth Amendment rights. Whether the consequence was by

direct or indirect means should be immaterial. A holding otherwise means that the government has

found the effective way to punish a student for exercising the privilege. The Hobson choice decried

by Garrity still exists.7

         2.       The Limited Interest Of Miami University

         Defendants barely acknowledge the portion of the Mathews test that focuses on the risk of an

erroneous outcome. See Def. Memo. at 14 (acknowledging that school has an interest in reaching the

truth). Significantly, Defendants do not contest that delaying the hearing will lead to a more accurate

and reliable result because the hearing panel will have the benefit of the evidence the prosecutor’s

office is waiting for: lab results. This is an important factor. See e.g. Kropat v. FAA, 333 U.S.App.D.C.

239, 162 F.3d 129, 133 (1998) (“because both [sides] have important interests at stake, our analysis

focuses on the last of the three Mathews factors--the probable value, in terms of accuracy and

efficiency…”); Benham v. Ledbetter, 785 F.2d 1480, 1489 (11th Cir.1986) (“the Mathews concern with

accuracy is of a special character. Both [parties] have an interest in a correct decision”). And, as the

Sixth Circuit notes, “Reaching the truth through fair procedures is an interest” an accused student and

a school “have in common.” Univ. of Cincinnati, 872 F.3d at 402.

         Defendants present no evidence to this Court – either by affidavit or otherwise – supporting

a claim that Miami University will suffer any harm if the Court grants an injunction. And Defendants



7
  Justice Powell, sitting by designation with the Fourth Circuit, articulated the import of Garrity and
the other penalty cases: “If the State presents a person with the ‘Hobson's choice’ of incriminating
himself or suffering a penalty, and he nevertheless refuses to respond, the State cannot constitutionally
make good on its threat to penalize him.” Wiley v. Doory, 14 F.3d 993, 996 (4th Cir. 1994), quoting
Minnesota v. Murphy, 465 U.S. 420, 443 (1984) (Marshall, J., dissenting).

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never explain, beyond conclusory assertions, why Miami University will be harmed by a delay in the

disciplinary process until the start of the Fall 2019 Semester.8

        Instead, Defendants claim that they have an interest in “responding promptly” to the Title IX

Complaint against John Doe. Def. Memo. at 14. This is true, but Defendants cite no authority

suggesting that Title IX requires a hearing in a certain time frame. The term “prompt” is undefined

either by statute or regulations. Under the 2011 Dear Colleague Letter (which were not regulations),

schools were generally required to complete investigations and adjudications in 60 days. However, as

noted in Plaintiff’s Memorandum, the 2011 Dear Colleague Letter has been withdrawn and the

Department of Education has promulgated proposed regulations. See, generally, Nondiscrimination on the

Basis of Sex in Education Programs or Activities Receiving Federal Financial Assistance, 83 Fed. Reg. 61462

(proposed Nov. 29, 2018) (to be codified at 34 C.F.R. pt. 106). The comments to the Proposed

Regulations indicate that the prior standard for “prompt” resolution of sexual misconduct allegations

on campuses led to less reliable outcomes. The Department writes,

        Some recipients felt pressure in light of prior Department guidance to resolve the
        grievance process within 60 days regardless of the particulars of the situation, and in
        some instances, this resulted in hurried investigations and adjudications, which
        sacrificed accuracy and fairness for speed.




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  Defendants suggest that “there is nothing preventing Plaintiff from returning to campus or
registering for classes.” But, the undisputed record reflects that Plaintiff has taken a leave of absence
for the Spring 2019 semester and does not plan to be on campus. (Doe Aff. ¶6 (PageID#73.) If
Miami schedules a hearing when Plaintiff suggests – the beginning of Fall 2019 Semester – Plaintiff
would not be able to return if he were found responsible.
This outcome is consistent with the policy underlying Title IX. The statute is designed to protect
access to education, not punish students who violate school rules. Under Title IX, Miami University
is required only to protect the educational opportunities of the complainant. Defendants never explain
why, as long as Plaintiff is not on campus, her educational opportunities are effected in any way. The
record on this is tellingly silent. This gets at a fundamental problem underlying Defendants’ position.
The school’s disciplinary process is not intended to be a substitute for the judicial process or a
mechanism for seeking justice. See Laura Kipnis, Eyewitness to a Title IX Witch Trial, Chronicle of Higher
Ed., April 2, 2017 (describing Title IX hearing as “the campus equivalent of a purification ritual”).

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Id. at ¶116. In fact, the new, proposed, regulation specifically suggest that while there should be

“reasonably prompt timeframes” for resolution of the disciplinary process, schools should also

specifically consider delays when there is a concurrent law enforcement investigation. Schools must

provide

          a process that allows for the temporary delay of the grievance process or the limited
          extension of timeframes for good cause … Good cause may include considerations
          such as the absence of the parties or witnesses, concurrent law enforcement activity, or the
          need for language assistance or accommodation of disabilities.

Id., proposed paragraph (b)(1)(v) (emphasis supplied). This language suggests that the school’s interest

in moving forward on the schedule it desires is limited.

D.        Irreparable Harm

          Defendants do not contest that the law in this Circuit is that suspension or the imposition of

other discipline would constitute irreparable harm. See Pl. Memo. at 16 (collecting cases). This Court

recently, even when denying a motion for a preliminary injunction by a student, nonetheless found

that the student had “demonstrated irreparable harm” and that “the second element of the injunction

test weighs in favor of granting a preliminary injunction.” Roe v. Univ. of Cincinnati, S.D. Ohio No.

180-cv-132 (Order, August 21, 2018) (Docket #25).

E.        Harm to Third Parties and Public Interest

          Defendants suggest that injunctive relief will cause the alleged victim “substantial harm.” Def.

Memo. at 16. This argument fails for two reasons. First, it is not supported by any evidence in the

record. See Doe v. Univ. of Cincinnati, 223 F. Supp. 3d 704, 712 (S.D.Ohio 2016), aff’d 872 F.3d 393 (6th

Cir. 2017) (finding that that an injunction would not harm third parties where “there is no evidence

in the record to the contrary”). Second, the only case cited by Defendants actually supports the

opposite conclusion. Defendants cite the Sixth Circuit’s opinion in Doe v. Univ. of Cincinnati for the

position that the alleged victim has the right to attend a school “without fear of sexual assault or

harassment.” But in Univ. of Cincinnati the Sixth Circuit, in upholding a preliminary injunction issued
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by this Court, noted that the alleged victim actually benefits from requiring schools to adopt additional

procedural protections: “One-sided determinations are not known for their accuracy. [The alleged

victim] deserves a reliable, accurate outcome as much as [the plaintiff].” 872 F.3d at 404.

        Finally, the public interest in maintaining school discipline can be protected, if the Court

deems appropriate, by the fact that Plaintiff is not present on campus. Plaintiff will abide by any

restrictions imposed by the Court as part of any injunctive relief, including an Order that he have no

contact with the alleged victim. Cf. Roe v. Adams-Gaston, S.D.Ohio No. 2:17-cv-945, 2018 U.S. Dist.

LEXIS 185697, at *47-48 (Apr. 17, 2018) (finding that public interest factor weighs in favor of issuing

an injunction where plaintiff “would not remain on campus”).

                                           CONCLUSION

        Pursuant to Fed. R. Civil P. 65, this Court should grant a Preliminary Injunction prohibiting

Defendants from pursuing a disciplinary hearing against John Doe while a criminal investigation is

pending, or until August 26, 2019.



                                                        Respectfully submitted,


                                                        ____/s/ Joshua Adam Engel______
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                                  CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing has been electronically served via the Court’s CM/ECF
system this March 23, 2019 upon all counsel of record.

/s/ Joshua Engel
Joshua Adam Engel (0075769)




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